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                       UNITED STATES DISTRICT COURT
                    DISTRICT OF UTAH, CENTRAL DIVISION
                                               )
 VANCE NORTON, GARY JENSEN, KEITH )
 CAMPBELL, ANTHONEY BYRON,                     )
 BEVAN WATKINS, and TROY SLAUGH,               )
                                               )     COMPLAINT FOR NON-
                 Plaintiffs,                   )   MONETARY DECLARATORY
         v.
                                               )    and INJUNCTIVE RELIEF
 THE UTE INDIAN TRIBE OF THE UINTAH )
 AND OURAY INDIAN RESERVATION, a               )
 federally recognized Indian Tribe; the        )      Case No. 2:15-cv-00300
 BUSINESS COMMITTEE FOR THE UTE                )
 INDIAN TRIBE OF THE UINTAH AND                )       Judge: Dee Benson
 OURAY INDIAN RESERVATION, in its              )
 official capacity; the UTE TRIBAL COURT       )
 OF THE UINTAH AND OURAY                       )
 RESERVATION; th e HONORABLE                   )
 WILLIAM REYNOLDS, in his official             )
 capacity as Acting Chief Judge of the Ute     )
 Tribal Court; DEBRA JONES and ARDEN
                                               )
 POST, individually and as the natural parents
 of Todd R. Murray; and DEBRA JONES as         )
 personal representative of the Estate of Todd )
 R. Murray.                                    )
                 Defendants.                   )
                                               )
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      COME NOW Vance Norton, Gary Jensen, Keith Campbell, Anthoney

Byron, Bevan Watkins; and Troy Slaugh (collectively “Plaintiffs”), by way of

Complaint against the Ute Indian Tribe of the Uintah and Ouray Reservation, the

Business Committee for Ute Indian Tribe of the Uintah and Ouray Reservation,

the Ute Tribal Court of the Uintah and Ouray Reservation, the Honorable William

Reynolds as acting Chief Judge of the Ute Tribal Court, Debra Jones and Arden C.

Post, individually, and Debra Jones as personal representative of the Estate of

Todd R. Murray on behalf of the heirs of Todd R. Murray (collectively

“Defendants”).

                                           I.

                                  INTRODUCTION

      1.      Plaintiffs are bringing this suit for declaratory and injunctive relief

because attorneys from the firm of Fredericks Peebles & Morgan LLP have re-

filed Jones et. al v. Norton et. al.,1 which is currently on appeal to United States

Court of Appeals for the Tenth Circuit following this Court’s entry of Judgment in

favor of the Defendants in that case.

      2.      Attorneys from the firm of Fredericks Peebles & Morgan LLP, who

      1
          District of Utah Case 2:09CV00730.

                                            2
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also represented the Plaintiffs in Jones et. al v. Norton et. al., have re-filed that

case in the Ute Tribal Court.2

      3.     According to attorneys from the firm of Fredericks Peebles & Morgan

LLP, they re-filed the case in the Ute Tribal Court because their clients were “not

satisfied” with the decisions of the United States District Court in Jones et. al v.

Norton et. al., and because the jurisdiction of the Ute Tribe to prosecute these re-

filed claims and the Ute Tribal Court to hear these re-filed claims were matters to

be determined under Ute Tribal Law, NOT federal law.

                                           II.

                             NATURE OF THE CASE

      4.     This action arises out of the suicide of Todd R. Murray. On April 1,

2007, Todd R. Murray was a passenger in Uriah Kurip’s vehicle, which was

traveling westbound on Highway 40 in Uintah County. Utah State Trooper Dave

Swenson of the Utah Highway Patrol observed the Kurip vehicle speeding.

Swenson attempted to stop the Kurip vehicle, but te driver refused to stop and a

high-speed chase ensued.


      2
         See Fredericks Peebles & Morgan LLP’s Ute Tribal Court Complaint attached
hereto as Exhibit 1.

                                           3
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      5.     The pursuit terminated about thirty minutes after it began when the

Kurip vehicle ran off the highway. Murray exited the vehicle and fled the scene,

armed with a .380 automatic pistol.

      6.     Thereafter Murray encountered Vernal City Police Officer Vance

Norton. Murray initiated an exchange of gun fire with Norton, after which Murray

shot and killed himself.

      7.     The firm of Fredericks Peebles & Morgan LLP brought civil rights

and common law wrongful death claims in the United States District Court for the

District of Utah on behalf of Murray’s parents, Debra Jones and Arden Post as

well as on behalf of Debra Jones as personal representative of the Estate of Todd

R. Murray. Hereinafter, that federal court case will be referred to as the “Original

Murray Action”.

      8.     The firm of Fredericks Peebles & Morgan LLP named as defendants

in the Original Murray Action Officer Norton, Uintah County Deputy Sheriffs

Anthoney Byron, Bevan Watkins and Troy Slaugh and everyone else who

happened to show up at the scene of Murray’s suicide.3

      9.     According to Ms. Jones, and Mr. Post, the Original Murray Action


      3
        United States District Court Case 2:09CV00730, Third Amended Complaint
Doc. 170.

                                         4
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was fully funded by the Ute Tribe.4

      10.     In the Original Murray Action, after years of contentious and

acrimonious litigation, the District Court entered Judgment in favor of all of the

defendants, including Norton, Byron, Watkins and Slaugh.5 That matter is now on

appeal to the United States Court of Appeals for the Tenth Circuit.6

      11.     On March 5, 2015, attorneys with the firm Fredericks Peebles &

Morgan LLP filed an action in the Ute Tribal Court on behalf of the Ute Indian

Tribe, Debra Jones, Arden Post and the Estate of Todd Murray again seeking

damages arising out of Todd R. Murray’s suicide.7 That Complaint will be herein

after referred to as the “Re-filed Murray Complaint”.

      12.     In the Re-filed Murray Complaint, the firm of Fredericks Peebles &

Morgan LLP named as defendants, among others, Vernal City Officer Norton,

Deputy Byron, Deputy Watkins, and Deputy Slaugh, all of whom had been

defendants in the Original Murray Action.


      4
          See Jones and Post Depositions, Exhibits 2 and 3 hereto.
      5
          See Judgment, Case No. 2:09CV00730453, Doc. 453.
      6
          Notice of Appeal, Case No. 2:09CV00730, Doc. 436.
      7
          See Tribal Court Complaint, Exhibit 1 hereto,

                                             5
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      13.    The firm Fredericks Peebles & Morgan LLP also named Gary Jensen

and Keith Campbell as defendants. Jensen was the Chief of Police of Vernal City

at the time of Murray’s suicide and Campbell was at that time both a Deputy

Uintah County Sheriff and a Deputy Medical Examiner for the Utah State Office

of the Medical Examiner. But neither Jensen nor Campbell had been named by

the Fredericks Peebles & Morgan LLP firm as a defendants in the Original

Murray Action.8

      14.    By the instant action, Plaintiffs are seeking to have this Court review

the question of the Ute Tribe and Ute Tribal Court’s jurisdiction and lawful

authority over them. Specifically, Plaintiffs are asking for a declaratory judgment

to the effect that the Ute Tribe and Ute Tribal Court lack subject matter

jurisdiction to prosecute and/or to hear the claims being brought against Plaintiffs

in the Ute Tribal Court and, based upon that ruling, for an Order enjoining the

prosecution of these claims in the Ute Tribal Court.

      15.    In the alternative, if this Court determines that Plaintiffs are subject to


      8
         The Fredericks Peebles & Morgan LLP firm moved in the Original Murray
Action to join Jensen as an additional party. See Motion to Add Additional Parties, Case
No. 2:09CV730, Doc. 114. The District Court, however, denied that Motion. See Order,
Case No. 2:09CV730, Doc. 198 . The Fredericks Peebles & Morgan LLP firm, however,
made no similar Motion to join Campbell as a defendant in the Original Murray Action.

                                            6
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suit in the Ute Tribal Court, then Plaintiffs are asking for a declaratory judgment

to the effect that the Ute Tribe and Ute Tribal Court are “Federal Actors” so as to

entitle Plaintiffs to the full protections of the United States Constitution in all

proceedings before the Ute Tribal Court, and for an Order enjoining the Ute Tribe

and Ute Tribal Court from denying Plaintiffs their rights under the United States

Constitution.

                                          III.

                                      PARTIES

       16.    At all times relevant to this action, Plaintiff Vance Norton (“Norton”)

was a Vernal City Police Officer acting under color of law and within the scope of

his official duties.

       17.    At all times relevant to this action, Plaintiff Gary Jensen (“Jensen”)

was the Vernal City Chief of Police acting under color of law and within the scope

of his official duties.

       18.    At all time relevant to this action, Plaintiff Keith Campbell was both a

Deputy Uintah County Sheriff as well as Deputy Medical Examiner for the Utah

State Office of the Medical Examiner and in both capacities he was acting under

color of law and within the scope of his official duties.

                                           7
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       19.    At all times relevant to this action, Plaintiff Anthoney Byron

(“Byron”) was a Deputy Uintah County Sheriff acting under color of law and

within the scope of his official duties.

       20.    At all times relevant to this action Bevan Watkins (“Watkins”) was a

Deputy Uintah County Sheriff acting under color of law and within the scope of

his official duties.

       21.    At all times relevant to this action Troy Slaugh (“Slaugh”) was a

Deputy Uintah County Sheriff acting under color of law and within the scope of

his official duties.

       22.    Defendant Ute Indian Tribe of the Uintah and Ouray Reservation

(“Ute Tribe”) is a federally recognized tribe with its headquarters at Fort

Duchesne, Utah.

       23.    Defendant Business Committee of the Ute Indian Tribe of the Uintah

and Ouray Reservation (“Ute Business Committee”) is the governing body of the

Ute Tribe. The Ute Business Committee is being sued solely in its official

capacity as the governing body of the Ute Tribe.

       24.    Defendant Ute Tribal Court for the Ute Indian Tribe of the Uintah and

Ouray Reservation (“Ute Tribal Court”) is located at Fort Duchesne, Utah. The

                                           8
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Ute Tribal Court is controlled by the Ute Business Committee and the Chief Judge

of the Ute Tribal Court.

      25.     Upon information and belief, Defendant William Reynolds is the

acting Chief Judge of the Ute Tribal Court. The Honorable William Reynolds is

being sued solely in his official capacity as a Judge of the Ute Tribal Court.

                                           IV.

                            JURISDICTION and VENUE

      26.     This Court has jurisdiction over the subject matter of this case

pursuant to 28 U.S.C. § 1331 because it raises a substantial federal question as to

the scope of the Ute Tribe and Ute Tribal Court’s jurisdiction over Plaintiffs.9

      27.     Venue is proper under 28 U.S.C. § 1391, and the remedies-relief

sought by Plaintiffs are authorized under 28 U.S.C. §§ 2201 and 2202.

                                           V.

                EXHAUSTION OF TRIBAL COURT REMEDIES

      28.     It is not necessary for Plaintiffs to exhaust the remedies that might

otherwise be available to them in Ute Tribal Court because the actions of the


      9
          See National Farmers Union Ins. Cos. v. Crow Indian Tribe, 471 U.S. 845, 852,
(1985).

                                            9
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Defendants are patently violative of express jurisdictional prohibitions against the

Ute Tribe and/or Ute Tribal Court’s assertion of any jurisdiction over Plaintiffs.10

In fact, in Nevada v. Hicks, the United States Supreme Court clearly stated that: (a)

“[I]t is clear . . . that tribal courts lack jurisdiction over state officials for

causes of action relating to their performance of official duties. . . ;”11 (b) a

tribe’s right to make its own laws and to be governed by them did not exclude all

state regulatory authority on reservations, thus, state sovereignty did not end at a

reservation border;12 (c) “a tribe’s adjudicative jurisdiction over nonmembers

is at most only as broad as its legislative jurisdiction;”13 and (d) because an

Indian reservation is considered part of the territory of the state, “state officials

operating on reservation . . . are properly held accountable for misconduct

and civil rights violations in either State or Federal Court, but not in Tribal




      10
           See Nevada v. Hicks, 533 U.S. 353 (2001); MacArthur v. San Juan County, 391
F. Supp. 2d 895, 1037 (D. Utah 2005); Montana DOT v. King, 191 F.3d 1108(9th Cir.
1999); Montana v. Gilham, 133 F.3d 1133 (9th Cir. 1997); Stift v. Lynch, 267 F.2d 237
(7th Cir. 1959).
      11
           533 U.S. at 369(emphasis added).
      12
           Id. at 374.
      13
           Id.

                                              10
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Court.”14

                                             VI.

                               SOVEREIGN IMMUNITY

       29.       Plaintiffs are likewise entitled to sovereign immunity because, in

MacArthur v. San Juan County,15 the United States District Court for the District

of Utah ruled that Counties and their employees are immune from suit in tribal

court. That ruling was subsequently affirmed by the United States Court of

Appeals for the Tenth Circuit.16 More importantly, “immunity means immunity

from suit, not simply immunity from liability.”17

                                             VII.

                              GENERAL ALLEGATIONS

      30.        The Ute Tribal Court is housed in a building constructed upon land

held in trust for the Ute Tribe by the United States of America, and overseen by

the Bureau of Indian Affairs. The Ute Tribal Court provides judicial services to

      14
           Id.
      15
           391 F. Supp. 2d 895, 1037 (D. Utah 2005).
      16
           MacArthur v. San Juan County 497 F.3d 1057 (10th Cir. 2007).
      17
        Brown v. United States Postal Service, 338 Fed. Appx. 438, 440 (5th Cir.
2009)(unpublished).

                                              11
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the Ute Tribe that would otherwise have to be provided by the United States of

America through the Bureau of Indian Affairs.

       31.    Pursuant to 25 U.S.C. §§ 3611 through 3631, the Ute Tribal Court is

funded and supported by the United States of America. Pursuant to Public Law

93-638, the Ute Tribe has contracted with the Bureau of Indian Affairs to operate

the Ute Tribal Court.

       32.    Pursuant to the Ute Tribe’s Public Law 93-638 contract with the

Bureau of Indian Affairs, Ute Tribal Court personnel, including the Judges in that

Court, are federal employees.

       33.    Plaintiffs and other State, county or municipal officials or employees

who are subject to the jurisdiction of the Ute Tribal Court are not entitled to the

due process and/or other rights normally guaranteed to them under the United

States Constitution in Federal and State judicial proceedings.18

       34.    In the Ute Tribal Court, the only rights guaranteed to Plaintiffs are

those rights set forth in 25 U.S.C. § 1302, which do not include, among others, the

right to a jury trial, the right to a trial by a jury of their peers since in the Ute

      18
         See Talton v. Mayes, 163 U.S. 376 (1986); Trans-Canada Enter. v. Muckleshoot
Indian Tribe, 634 F.2d 474, 476 (9th Cir. 1980); Settler v. Lameer, 507 F.2d 231, 241-
47(9th Cir. 1974).

                                             12
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Tribal Court only members of the Ute Tribe can serve on juries, and the due

process accorded Plaintiffs before the Ute Tribal Court is defined by the Ute Tribe

and not by the United States Constitution.

      35.   On April 1, 2007, Todd R. Murray committed suicide following a

high speed pursuit by Utah Highway Patrol Trooper Dave Swenson of the vehicle

in which he was a passenger.

      36.   In the Original Murray Action, attorneys from the firm of Fredericks

Peebles & Morgan LLP brought civil rights and common law wrongful death

clams on behalf of Murray’s parents, Debra Jones and Arden Post and the Estate

of Todd R. Murray against Officer Norton, Uintah County Deputy Sheriffs

Anthoney Byron, Bevan Watkins and Troy Slaugh and everyone else who

happened to show up at the scene of Murray’s suicide.

      37.   In the Original Murray Action, after years of litigation the District

Court granted summary judgment in favor of all of the defendants, including

Norton, Byron, Watkins, and Slaugh. That matter is now on appeal to the United

States Court of Appeals for the Tenth Circuit.

      38.   On March 5, 2015, attorneys with the firm Fredericks Peebles &

Morgan LLP brought the Re-filed Murray Complaint in the Ute Tribal Court on

                                        13
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behalf of the Ute Indian Tribe, Debra Jones, Arden Post and the Estate of Todd

Murray again seeking damages arising out of Murray’s suicide.19

      39.      The firm of Fredericks Peebles & Morgan LLP named as defendants

in that Re-filed Murray Complaint, among others, Vernal City Officer Norton,

Deputy Byron, Deputy Watkins, and Deputy Slaugh, all of whom had been

defendants in the Original Murray Action.

      40.      The firm Fredericks Peebles & Morgan LLP also named Gary

Jensen and Keith Campbell as defendants in the Re-filed Murray Complaint even

though neither were named by the Fredericks Peebles & Morgan LLP firm as a

defendants in the Original Murray Action.

      41.      The Re-filed Murray Complaint is based upon the same facts as the

Original Murray Action and sets forth the same basic theories of liability. The

only material difference between the two lawsuits is that the Ute Tribe has

suddenly stepped out to insert itself as a plaintiff in the Re-filed Murray

Complaint; whereas in the Original Murray Action, other than secretly funding

that lawsuit and controlling the actions of counsel from the Fredericks Peebles &

Morgan LLP firm, the Tribe remained hidden in the shadows.

      19
           See Re-filed Murray Complaint, Exhibit 1 hereto,

                                            14
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      42.    On April 14, 2015, Plaintiffs’ counsel learned of the Fredericks

Peebles & Morgan LLP firm’s re-filing of the Murray case in the Ute Tribal Court,

and immediately called Jeffrey Rasmussen of that Firm to discuss the matter.

During that conversation, Mr. Rasmussen told Plaintiffs’ counsel that the action

had been re-filed in the Ute Tribal Court because his clients were “not satisfied”

with the results of the Original Murray Action, and because the jurisdiction of the

Ute Tribe to prosecute these claims and the Ute Tribal Court to hear these claims

were matters to be determined under Ute Tribal Law, NOT federal law.

      43.    On April 21, 2015, Plaintiffs’ counsel followed-up with an e-mail to

Mr. Rasmussen stating therein the substance of that conversation. Mr. Rasmussen

responded essentially disavowing the conversation of April 14, 2015.20

                                         VIII.

                           FIRST CLAIM FOR RELIEF

                       (Review or Tribal Court Jurisdiction)

      44.    Plaintiffs incorporate by reference the allegations contained in the

preceding paragraphs.


      20
          A copy of that E-mail exchange is attached hereto as Exhibit 4 and incorporated
by reference.

                                           15
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      45.    An existing and actual controversy within this Court’s jurisdiction

exists between Plaintiffs and the Defendants concerning the Ute Tribe and Ute

Tribal Court’s jurisdiction over the claims being asserted against Plaintiffs in the

Ute Tribal Court.

      46.    The Ute Tribe and Ute Tribal Court’s subject matter jurisdiction over

the Re-filed Murray Complaint is a matter of federal law, and under federal law

not only is there no such jurisdiction, but Defendants Norton, Jensen, Campbell,

Byron, Watkins and Slaugh are also immune from suit in the Ute Tribal Court, and

the claims asserted against them in the Re-filed Murray Complaint are likewise

barred by the doctrines of res judicata and collateral estoppel.

      47.    By this Complaint, Plaintiffs seek a declaration pursuant to 28 U.S.C.

§§2201 and 2202 that the Ute Indian Tribe and Ute Tribal Court have exceeded

the lawful limits of its jurisdiction and/or otherwise lacks subject matter

jurisdiction over the claims being asserted against Plaintiffs by Defendants Ute

Tribe, Debra Jones, Arden Post and the Estate of Todd R. Murray in the Re-filed

Murray Complaint.

      48.    By this Complaint, Plaintiffs likewise seek an Order from this Court

enjoining the Ute Tribe and the Ute Tribal Court from proceeding to hear the

                                          16
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matters being asserted against them by Defendants Ute Tribe, Debra Jones, Arden

Post and the Estate of Todd R. Murray in the Re-filed Murray Complaint; and

further enjoining these Defendants from continuing to prosecute those claims.

      49.    By this Complaint, Plaintiffs likewise seek an Order from this Court

enjoining Defendants Ute Tribe, Debra Jones, Arden Post and the Estate of Todd

R. Murray from continuing to prosecute claims related to the death of Todd R.

Murray in the Ute Tribal Court.

                                         IX.

                        SECOND CLAIM FOR RELIEF

            (Alternative Claim Enforcement of Constitutional Right)

      50.    Plaintiffs incorporate by reference the allegations contained in the

preceding paragraphs.

      51.    Because of the United States of America’s funding, support, oversight

and control of the Ute Tribal Court, the Ute Tribal Court and its personnel are

Federal Actors so as to entitle Plaintiffs and others who are subject to the

jurisdiction of the Ute Tribal Court to the full protections of the United States

Constitution.

      52.    In the event that the Court determines that Plaintiffs are subject to the

                                          17
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jurisdiction of the Ute Tribal Court, then Plaintiffs are entitled to the due process

and other rights that would be accorded to them under the United States

Constitution if Defendants Ute Tribe, Debra Jones, Arden Post and the Estate of

Todd R. Murray were proceeding in the United States District Court for the

District of Utah or a Utah State Court.

                                          X.

                                      PRAYER

      WHEREFORE, Plaintiffs pray for Judgment against the Defendants as

follows:

      1.     For a declaration under 28 U.S.C. §§ 2201 and 2202 that the Ute

Tribe and Ute Tribal Court are without subject matter jurisdiction to prosecute

and/or to hear the claims being asserted against Plaintiffs in the Re-filed Murray

Complaint and by doing so have exceeded the lawful limits of their authority; and

based upon that declaration, for an Order enjoining the Ute Tribe and Ute Tribal

Court from proceeding to hear those claims, and further enjoining Defendants Ute

Tribe, Debra Jones, Arden Post and the Estate of Todd R. Murray from continuing

to prosecute the Re-filed Murray Complaint in the Ute Tribal Court.

      2.     In the alternative, if the Court determines that the Ute Tribe and Ute

                                          18
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Tribal Court do have subject matter jurisdiction over the claims being asserted

against Plaintiffs in the Re-filed Murray Complaint, then Plaintiffs seek a

declaration under 28 U.S.C. §§ 2201 and 2202 that the Ute Tribe and the Ute

Tribal Court are Federal Actors so as to entitle Plaintiffs to the full protections of

the United States Constitution in all proceedings before the Ute Tribal Court and,

based upon that declaration, for an Order enjoining the Ute Tribe and Ute Tribal

Court from denying Plaintiffs their rights under the United States Constitution.

      3.     For such other and further relief as the Court deems just and equitable

under the circumstances.

      Dated this 28th day of April 2015.

                                        SUITTER AXLAND, PLLC

                                         /s/ jesse c. trentadue
                                        Jesse C. Trentadue
                                        Britton R. Butterfield

                                        Attorneys for Plaintiffs




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